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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 24-CR-20560


  UNITED STATES OF AMERICA

                 v.

  RODERICK VANDERBILT

                    Defendant.
  ______________________________________


         Pursuant to 18 U.S.C. § 3771, the United States of America seeks an order authorizing it

  to provide notice to the large number of crime victims in this case via a publicly accessible

  Department of Justice (“DOJ”) website. Under Section 3771(a)(2), crime victims have a right to

  “reasonable, accurate, and timely notice” of public court proceedings. In this case, the victims of

  the charged conspiracy to commit securities fraud are market participants who traded the stock of

  Vinco Ventures, Inc. (“Vinco Ventures”), a publicly traded company, between approximately

  November 2020 and approximately September 2024. These numerous individuals have not yet

  been fully identified and located. The United States estimates that there are thousands of investors

  who traded Vinco Ventures stock during the relevant period. Thus, it will be impracticable for the

  Government to identify and locate all investors and provide them with reasonable, accurate, and

  timely notice by mail of this case and any future proceedings.

         Under such circumstances, Section 3771(d)(2) of the Crimes Victims’ Rights Act gives the

  Court the authority to “fashion a reasonable procedure to give effect to this chapter that does not

  unduly complicate or prolong the proceedings.” The Government seeks authorization to provide


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  notice    to   the   potential   victim   investors   through    a   public   DOJ     website    at

  https://www.justice.gov/criminal/criminal-vns/case/united-states-v-roderick-vanderbilt,     which

  would provide a provide a summary of the case, information regarding the case’s status, and other

  significant case-related documents. The website also would contain an e-mail address and

  telephone number for a Victim Assistance Line through which individual potential crime victims

  could contact the Department of Justice with questions regarding the case.

           The Court finds: (1) that the “multiple victim” provisions of 18 U.S.C. § 3771(d)(2) apply

  to the above-captioned case; (2) that it is impracticable for the Government to identify and notify

  all of the direct and proximate victims of the charged offense on an individual basis at this time

  without unduly complicating or delaying the proceedings in this case; and (3) notice by public

  DOJ website is a “reasonable procedure” to give effect to the provisions of 18 U.S.C. § 3771.

  Accordingly, it is ordered that the United States is authorized to comply with 18 U.S.C. §

  3771(a)(2) by providing notice to potential victims through a publicly accessible DOJ website,

  https://www.justice.gov/criminal/criminal-vns/case/united-states-v-roderick-vanderbilt.



                                                               ______________________________
                                                               Honorable David S. Leibowitz
                                                               United States District Judge
  DATE:




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